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 4
     ATTORNEY FOR DEFENDANT
 5   ALEKSANDR MASLOV
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 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
      UNITED STATES OF AMERICA,                )         Case №: 2:14-CR-00083 GEB
12                                             )
                     Plaintiff,                )
13                                             )
              vs.                              )      STIPULATION AND PROPOSED
14                                             )      ORDER TO CONTINUE THE STATUS
      Aleksandr Maslov,                        )      CONFERENCE FROM JUNE 30, 2017 TO
15                                             )      AUGUST 25, 2017 AND EXCLUDE TIME
                     Defendant.                )
16                                             )
17
18                                                 STIPULATION

19          IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,

20   Matthew M. Yelovich, Assistant United States Attorney, and Robert M. Wilson, attorney for
21
     Aleksandr Maslov, that the status conference date of Friday, June 30, 2017, should be continued
22
     to Friday, August 25, 2017, and time should be excluded under the Speedy Trial Act. The
23
     parties further stipulate as follows:
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25          1. By previous order, the status of the competency proceedings as to defendant Aleksandr

26   Maslov in case number 2:14-CR-083 were set for status conference on June 30th, 2017.

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           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
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 1          2. Dr. Samantha Shelton was the evaluator from the Metropolitan Detention Center in
 2   Los Angeles assigned to the defendant’s evaluation. Her report regarding the defendant was
 3
     filed on May 30, 2017.
 4
            3. The report of Dr. Shelton has been received and has been provided to Dr. McDermott
 5
     at UC Davis to review. The defendant wishes to present to the Court a supplemental report from
 6
 7   Dr. McDermott. Dr. McDermott has requested additional time to prepare a supplemental report.

 8          4. The defendant, Aleksandr Maslov, is currently out of custody.
 9          5. Moreover, on May 17, 2017 this Court in case number 2:14-CR-083 GEB excluded
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     time under the Speedy Trial Act within which trial must occur through June 30, 2017, pursuant
11
     to 18 U.S.C. §§ 3161(h)(7)(A), B(iv) [Local Code T4] and 3161(h)(1)(A) [Local Code A]. The
12
     parties hereby jointly request that this Court order further time excluded in this matter, 2:14-CR-
13
14   083, between the date of this Order and the contemplated August 25, 2017, status conference

15   pursuant to Local Codes T4 and A for several reasons. First, the discovery in this case is
16   voluminous, and defense counsel continues to prepare for an eventual trial, justifying continued
17
     exclusion under Local Code T4. Independently, competency proceedings are underway, as the
18
     evaluator is currently compiling her evaluative report on that subject, justifying an exclusion
19
     under Local Code A. See United States v. Miranda, 986 F.2d 1283, 1294–85 (9th Cir. 1993)
20
21   (holding that § 4241(a) time limits for competency evaluation do not limit excludable time for

22   competency examinations under § 3161(h)(1)(A), and upholding exclusion of 106 days in which

23   defendant’s mental competency evaluation report was under preparation); accord United States
24
     v. Daychild, 357 F.3d 1082, 1094 (9th Cir. 2004).
25
26          6. The parties further stipulate the continuance is necessary, as defense counsel is still

27   reviewing discovery, meeting with his client, and investigating information as well as conducting

28   additional research.
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           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:14-cr-00083-DJC Document 206 Filed 06/30/17 Page 3 of 4


 1          7. Nothing in this stipulation and order shall preclude a finding that other provisions of
 2   the Speedy Trial Act dictate that additional time periods are excludable from the period within
 3
     which a trial must commence.
 4
 5          IT IS SO STIPULATED that the time between June 30, 2017 and August 25, 2017

 6   should be excluded from the Speedy Trial calculation pursuant to 18 U.S.C.§§ 3161(h)(7)(A),

 7   B(iv) [Local Code T4] and 3161(h)(1)(A) [Local Code A] for defense preparation and the

 8   pending competency proceedings, based on the representations of the parties in their stipulation.

 9   The parties stipulate that the ends of justice served by granting this continuance outweigh the

10   best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

11
     IT IS SO STIPULATED.
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     Dated: June 28, 2017                                 /s/ ROBERT WILSON
14                                                        ROBERT WILSON
                                                          Counsel for Defendant
15                                                        ALEKSANDR MASLOV
16
17
     Dated: June 28, 2017                                 PHILLIP A. TALBERT
18                                                        United States Attorney

19
                                                          /s/ MATTHEW M. YELOVICH
20                                                        MICHAEL D. ANDERSON
                                                          MATTHEW M. YELOVICH
21                                                        Assistant United States Attorneys

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           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
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 1
                                               IT IS SO ORDERED.
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 3          The status conference presently set for June 30, 2017 at 9:00 A.M., is hereby continued to
 4
     August 25, 2017 at 9:00 A.M., and time under the Speedy Trial Act will be excluded from June
 5
     30, 2017 through August 25, 2017 pursuant to 18 U.S.C.§§ 3161(h)(7)(A), B(iv) [Local Code
 6
     T4] and 3161(h)(1)(A) [Local Code A] for defense preparation and the pending competency
 7
     proceedings, based on the representations of the parties in their stipulation. The Court finds that
 8
 9   the ends of justice served by granting this continuance outweigh the best interests of the public

10   and the defendant in a speedy trial.
11          Dated: June 29, 2017
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           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
